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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                Richmond Division




LULA WILLIAMS, et al.,
on behalf of themselves and all
individuals similarly situated.

      Plaintiffs,

V.                                             Civil Action No. 3:17-cv-461


BIG PICTURE LOANS, LLC, et al..

      Defendants.




                                       ORDER


      Having     considered     BIG    PICTURE    LOANS,       LLC    AND    ASCENSION

TECHNOLOGIES,      LLC'S   RESPONSE     TO     JULY    3,   2018     ORDER   REGARDING

DOCUMENTS      UNDER    SEAL    (ECF    No.    133),    and    finding       that   the

unsealing agreed to therein would be in the interest of justice

because the unsealed information is necessary to the decisional

process    and   will    make   intelligible      to    the   public the        Court's

forthcoming Memorandum Opinion disposing of that motion, it is

hereby    ORDERED       that    the    Clerk    shall       unseal     entirely     the

following documents: ECF Nos. 34, 34-1, 34-2, 34-3, 34-4, 34-8,

34-10, 34-11, 90, 91-8, 91-9, 91-11, 91-13, 91-17, 91-18, 91-26,

91-27,    91-28,   91-30, 106,        106-1,   106-7,       106-8,    106-9,    106-11,

106-13, 106-16, and 106-17. See Response at 4-5.

      Furthermore, it is ORDERED that Plaintiffs or Big Picture

and   Ascension—whichever         party      originally       filed    the     document
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noted—shall    re-file     the   following   documents    with    redactions

consistent with those described: ECF Nos. 23-24, 23-29, 23-31,

23-34, 83-2, 83-4, 83-5, 83-6, 83-7, 83-8, 83-11, 83-13, 83-15,

83-16, 83-17, 83-22, 83-23, 83-24, 83-25, 83-26, 83-30, 83-32,

102-3, 102-4, 102-5, 102-6, 102-7, 102-11, 102-13, and 102-22.

See id. at 5-8.


      All   other   documents    not   referenced   in   this    Order   shall


remain sealed.


      It is so ORDERED.




                                               /s/               fZtP
                             Robert E. Payne
                             Senior United States District Judge


Richmond, Virginia
Date: July          2018
